
27 So. 3d 688 (2009)
Eddy A. MEJIA, Appellant,
v.
COTTONIMAGES.COM, INC., and The Florida Unemployment Appeals Commission, Appellees.
No. 3D09-1795.
District Court of Appeal of Florida, Third District.
December 30, 2009.
Rehearing Denied February 23, 2010.
Eddy A. Mejia, in proper person.
Louis A. Gutierrez, for appellee, Florida Unemployment Appeals Commission.
Before WELLS and SHEPHERD, JJ., and SCHWARTZ, Senior Judge.
WELLS, Judge.
Affirmed. See § 443.151(3), Fla. Stat. (2009) (providing that an appeal from an unemployment compensation claim decision must be filed within twenty (20) days after mailing of the notice of decision); Leon v. Unemployment Appeals Comm'n, 476 So. 2d 761, 761 (Fla. 3d DCA 1985) (observing that "late filing deprived the *689 referee of jurisdiction to consider the merits of Leon's claim").
